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                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: Dena Natour for Hadi Abuatelah Case Number: 22-CV-03998
            v. Daniel Vettorio, et al.

An appearance is hereby filed by the undersigned as attorney for:
Dena Natour for minor Hadi Abuatelah
Attorney name (type or print): Antonio M. Romanucci

Firm: Romanucci & Blandin, LLC.

Street address: 321 N. Clark, Suite #900

City/State/Zip: Chicago, IL 60654

Bar ID Number: 6190290                                     Telephone Number: 312-458-1000
(See item 3 in instructions)

Email Address: aromanucci@rblaw.net

Are you acting as lead counsel in this case?                                          Yes      ✔ No
Are you acting as local counsel in this case?                                         Yes      ✔ No
Are you a member of the court’s trial bar?                                       ✔ Yes              No

If this case reaches trial, will you act as the trial attorney?                  ✔ Yes              No


If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                                                           CJA Panel Attorney

In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 10/10/23

Attorney signature:            S/ Antonio M.Romanucci

                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                                Revised 8/1/2015
